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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
      v.                            )                Criminal No. 18-338 (TJK)
                                    )
JEFFREY CLARK,                      )
                                    )
                  Defendant.        )
___________________________________ )


                                     NOTICE OF FILING


       Defendant, Jeffrey Clark, through undersigned counsel, pursuant to Rule of Criminal

Procedure 32(e)(2) hereby notifies the Court that he waives his right to have a copy of his

presentence report at least 35 days before the sentencing in this case on September 13, 2019.



                                             Respectfully submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                        /S/
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